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                               UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF SOUTH CAROLINA


In re:                                                      )         Case No. 24-00935-eg
                                                            )         Chapter 11
Partners In Hope, Inc.                                      )
                                                            )
                           Debtor-in-Possession.            )
                                                            )

                  APPLICATION TO EMPLOY HILCO REAL ESTATE, LLC
                             AS REAL ESTATE BROKER

         This application comes before the Court upon request of Partners In Hope, Inc. (the

“Debtor”) to employ Hilco Real Estate, LLC (“Hilco”) as real estate broker.

         1.       On March 13, 2024, Debtor filed a petition for relief under Chapter 11 of the

Bankruptcy Code.

         2.       Debtor remains in possession.

         3.       Debtor owns three parcels of real estate, 260 Watson Heritage Rd., Loris, SC,

29569, 1401 Watson Heritage Rd., Loris SC 29569 1 and 12287 Hwy 707, Murrells Inlet, SC

29576 (collectively the “Property”), which it has decided to market for sale. Debtor believes

selling the Property through bankruptcy will yield more to the secured creditors than a

foreclosure or auction. The more the secured creditors receive the easier it is on the Debtor to

pay its unsecured creditors.

         4.       Debtor respectfully requests to employ Hilco to market and sell the Property. The

terms of employment are set forth in the attached Real Estate Consulting and Advisory Services

Agreement (the “Agreement”).




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  West Town Bank has obtained stay relief as to the Loris properties. In an effort to mitigate any deficiency, Debtor
intends to try to sell the properties while still titled in the name of the Debtor prior to any foreclosure sale.
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       5.      Debtor has selected Hilco because it has considerable real estate experience,

including prior bankruptcy experience, and Debtor believes that Hilco is well qualified to market

the Property widely and obtain the best price in the shortest time. Hilco is a diversified real

estate consulting and advisory firm that evaluates, restructures, facilitates the acquisition of, and

disposes of all types of real estate both nationally and internationally. Hilco has extensive

experience solving complex real estate problems. Hilco has an excellent reputation as a leader in

the real estate field and has an experienced team of real estate brokers and analysts. Hilco’s

disposition and auction team has worked with numerous clients in the accelerated sale of

challenging properties nationwide and to monetize hard-to-sell assets.

       6.      As more fully set forth in the Agreement, Debtor requests authorization to employ

Hilco to provide the following real estate services:

               a.      Meeting with the Debtor to ascertain the Debtor’s goals, objectives and

                       financial parameters in selling the Property;

               b.      Soliciting interested parties for the sale of the Property and marketing the

                       Property for sale through an accelerated sales process; and

               c.      Negotiating the terms of the sale of the Property, at the Debtor’s direction

                       and on the Debtor’s behalf.

       7.      Debtor wishes to pay Hilco a fee for its services pursuant to the terms and

conditions set forth in the attached Agreement. Hilco and Debtor have negotiated the following

proposed fee structure as set forth in the Agreement:

               a.      Fee: A commission equal to five (5.00%) of the Gross Sale Proceeds. For

                       purposes hereof, “Gross Sale Proceeds” shall mean the aggregate cash and

                       non-cash consideration received by the Debtor in consideration of the
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                        applicable Property.     The value of non-cash consideration paid for a

                        Property shall be determined by mutual agreement between Hilco and the

                        Debtor.

                b.      Costs: Debtor shall reimburse Hilco for all reasonable and customary

                        Expenses incurred in connection with the performance of the services

                        proposed hereunder; provided that such reimbursement obligation shall be

                        capped at $30,000. Specifically, in the event the Property sells during the

                        term of the Agreement (or any applicable tail period), in addition to

                        paying Hilco’s commission, Debtor shall reimburse Hilco for its

                        Expenses, capped at $30,000, from sales proceeds paid at closing. In the

                        event the Property does not sell during the term of the Agreement (or any

                        applicable tail period), then the Debtor shall have no obligation to

                        reimburse Hilco for the Expenses associated with the services.         For

                        purposes hereof, “Expenses” means all out-of-pocket expenses incurred by

                        Hilco in connection with marketing, advertising, economy travel and

                        transportation,   long    distance   telephone   charges,   postage    and

                        courier/overnight express fees.

        8.      Hilco has performed no prior services for the Debtor; therefore, it has no pre-

petition or post-petition claims against it.

        9.      Based upon the nature of the services to be provided by Hilco and the fact that

Hilco does not bill clients on an hourly basis, Debtor seeks relief from having Hilco maintain

time records or file interim or final fee applications.
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        10.      To the best of the Debtor’s knowledge, information and belief, Hilco is

disinterested as that term is defined by Section 101(14) of the Bankruptcy Code and has no

adverse interests to the Debtor or the bankruptcy estate or any creditors or parties-in-interest and

their respective attorneys in any matter to which they would be engaged, and Hilco’s

employment would be in the best interest of this estate pursuant to Section 327(d) of the

Bankruptcy Code. Hilco has no connection or affiliation with the United States Trustee or any

employees of the United States Trustee’s office.

        11.      Hilco has not been paid a retainer.

        WHEREFORE, Debtor prays that it be authorized to employ Hilco Real Estate, LLC

under the terms and conditions set forth herein, and that it be entitled to such other and further

relief as is just.


                                                       Respectfully submitted,


                                                       BAKER, DONELSON, BEARMAN,
                                                       CALDWELL & BERKOWITZ, PC


                                                       /s/ Jane H. Downey
                                                       Jane H. Downey, ID 5242
                                                       1501 Main St, Ste 310
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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF SOUTH CAROLINA


In re:                                           )        Case No. 24-00935-eg
                                                 )        Chapter 11
Partners In Hope, Inc.                           )
                                                 )
                         Debtor-in-Possession.   )
                                                 )


       I, the undersigned attorney for the Debtor-in-Possession, do hereby certify that I have
served a copy of the pleading(s) hereinbelow specified by mailing a copy of the same by United
States Mail, postage prepaid, to the following address(es):

Pleadings:      Application to Employ Hilco Real Estate, LLC as Real Estate Broker
                Declaration of Eric W. Kaup
                Proposed Order Granting Application to Employ Hilco Real Estate, LLC as
                Real Estate Broker

Party Served:   United States Trustee (by CM/ECF only)

                                                     Respectfully submitted,


                                                     BAKER, DONELSON, BEARMAN,
                                                     CALDWELL & BERKOWITZ, PC


                                                     /s/ Jane H. Downey
                                                     Jane H. Downey, ID 5242
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                                                     Columbia, SC 29201
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                                                     Email: jdowney@bakerdonelson.com

                                                     Attorney for Debtor-in-Possession
July 10, 2024
